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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


SECURITIES AND EXCHANGE
COMMISSION,
        Plaintiff,

vs.                                         CASE NO.: 6:21-cv-694-CEM-DCI

HARBOR CITY CAPITAL CORP.,
HARBOR CITY VENTURES, LLC,
HCCF-1 LLC, HCCF-2 LLC,
HCCF-3 LLC, HCCF-4 LLC, HCCF-5
LLC, HARBOR CITY DIGITAL
VENTURES, INC., HCC MEDIA
FUNDING, LLC, JONATHAN P.
MARONEY, CELTIC ENTERPRISES,
LLC, AND TONYA L. MARONEY,
          Defendants.
_____________________________________/


         DEFENDANT JONATHAN P. MARONEY’S ANSWER TO THE
                          COMPLAINT

         COMES NOW the Defendant, JONATHAN P. MARONEY, by and

through his undersigned counsel and for his Answer to the Complaint would state as

follows:

      1. Denied as to all allegations.

      2. Denied as to all allegations.

      3. Denied as to all allegations.

      4. Denied as to all allegations.
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   5. Denied as to all allegations.

   6. Denied as to all allegations.

   7. Denied as to all allegations.

   8. Denied as to all allegations.

   9. Admitted as to all allegations.

   10.Admitted as to all allegations.

   11.Admitted as to all allegations.

   12.Admitted as to all allegations.

   13.Admitted as to all allegations.

   14.Admitted as to all allegations.

   15.Admitted as to all allegations.

   16.Admitted as to all allegations.

   17.Admitted as to all allegations.

   18.Admitted as to all allegations.

   19.Admitted that Celtic is a Wyoming limited liability company with its principal

      place of business in Melbourne, Florida and that Maroney is its manager.

      Otherwise denied.

   20.Admitted that Tonya L. Maroney is 51, resides in Melbourne, Florida, and is

      married to Jonathan P. Maroney. Otherwise denied.

   21.Admitted as to all allegations.

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   22.Denied that Defendants’ acts and transactions constituted violations of the

      Securities Act and the Exchange Act. Otherwise admitted.

   23.Denied as to all allegations.

   24.Denied as to all allegations.

   25.Denied as to all allegations.

   26.Denied as to all allegations.

   27.Denied as to all allegations.

   28.Denied as to all allegations.

   29.Denied as to all allegations.

   30.Denied as to all allegations.

   31.Denied as to all allegations.

   32.Denied as to all allegations.

   33.Denied as to all allegations.

   34.Denied as to all allegations.

   35.Denied as to all allegations.

   36.Denied as to all allegations.

   37.Denied as to all allegations.

   38.Denied as to all allegations.

   39.Denied as to all allegations.

   40.Denied as to all allegations.

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   41.Denied as to all allegations.

   42.Denied as to all allegations.

   43.Denied as to all allegations.

   44.Denied as to all allegations.

   45.Denied as to all allegations.

   46.Denied as to all allegations.

   47.Denied as to all allegations.

   48.Denied as to all allegations.

   49.Maroney repeats and realleges his responses to paragraphs 1 through 48 of the

      Complaint.

   50.Denied as to all allegations.

   51.Denied as to all allegations.

   52.Denied as to all allegations.

   53.Maroney repeats and realleges his responses to paragraphs 1 through 48 of the

      Complaint.

   54.Denied as to all allegations.

   55.Denied as to all allegations.

   56.Maroney repeats and realleges his responses to paragraphs 1 through 48 of the

      Complaint.

   57.Denied as to all allegations.

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   58.Denied as to all allegations.

   59.Maroney repeats and realleges his responses to paragraphs 1 through 48 of the

      Complaint.

   60.Denied as to all allegations.

   61.Denied as to all allegations.

   62.Maroney repeats and realleges his responses to paragraphs 1 through 48 of the

      Complaint.

   63.Denied as to all allegations.

   64.Denied as to all allegations.

   65.Maroney repeats and realleges his responses to paragraphs 1 through 48 of the

      Complaint.

   66.Denied as to all allegations.

   67.Denied as to all allegations.

   68.Maroney repeats and realleges his responses to paragraphs 1 through 48 of the

      Complaint.

   69.Denied as to all allegations.

   70.Denied as to all allegations.

      Respectfully submitted this 7th day of September, 2021.

                                      Respectfully submitted,

                                      /s/ Mark M. O’Mara

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                                    Counsel for Defendant, Jonathan Maroney


                        CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing was

electronically filed using the CM/ECF system on this 7th day of September, 2021,

which will send a notice of electronic filing to ALISE M. JOHNSON, SENIOR

TRIAL COUNSEL, johnsonali@sec.gov, Securities and Exchange Commission,

801 Brickell Avenue, Suite 1800, Miami, Florida 33131.

                                    /s/ Mark M. O’Mara
                                    MARK M. O’MARA, ESQUIRE




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